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                                    December 18, 2018
VIA ECF
Honorable William H. Walls, U.S.DJ.
United States District Court
District of New Jersey
Martin Luther King Bldg. & U.S. Courthouse
50 Walnut Street, Courtroom 4D
Newark, New Jersey 07101

        Re:     United States v. Butter, No. l8-cr-605
                Work Travel to Texas Per Order Setting Conditions of Release

Dear Judge Walls,

        This firm represents Defendant Moshe Butler in the above-referenced matter. Please
accept this letter in lieu of a more formal appeal of the Probation Department’s denial of Mr.
Butler’s request to travel to Texas for work this week.

       As Your Honor will recall, in setting Mr. Butler’s conditions for release, this Court agreed
that Mr. Butler should be permitted to travel to New Jersey, New York and Texas for work. See
ECF No, 6. In connection with that directive, last week Mr. Butler informed his Probation Officer,
Dana Hafner, of his need to travel to Texas for work this upcoming Wednesday, December 19,
2018. See Travel Request attached hereto. More specifically, Mr. Butler is scheduled to travel to
Texas to meet with caseworkers for member of the Department of Veterans Affairs to ensure that
veterans are placed in appropriate detox treatment programs, to work with a number of Dallas
homeless shelters in an effort to expand his company’s existing services and to meet with other
treatment centers that refer his company clients.

         Ms. Hafier has been apprised of this Court’s Order Setting Mr. Butler’s Conditions of
Release but nonetheless denied his request to travel on the grounds that Probation intends to file
charges against Mr. Butler for purported violations of the terms of his supervised release. While
we appreciate that Ms. Hafner has the authority to deny Mr. Butler’s travel-related requests, which
is precisely why Mr. Butler sought her consent prior to traveling, the decision to permit his travel
should be treated with this Court’s decision to permit such travel in connection with Mr. Butler’s
pretrial release in mind. Mr. Butler will address Probation’s allegations that he has violated the
tenns of his supervised release if and when such charges are filed; indeed, such charges have been
anticipated since long before Mr. Butler’s guilty plea, which afier all included a plea to a charge
                                                               —          —




of lying to Probation. But the fact that Probation may seek to file a petition alleging that Mr. Butler
violated the conditions of his supervised release at some unknown and undisclosed time in the
future should not alter this Court’s initial ruling allowing his travel for business purposes especially
since the Court was also aware of this possibility at the time it set his conditions of release given
the nature of the charges to which he pleaded guilty.
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           In light of Your Honor’s   Order, we respectfully request that Your Honor “So Order”
  this letter granting Mr.            of the Probation Department’s denial of his request to travel
                                      )18 through Thursday, December 20, 2018.


  So                                                   II
                                                    Respectfully,

                                                    s/ Lawrence S. Lustberg
                                                    Lawrence S. Lustberg

  Enclosure
